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IN THE UNITED STATES DISTRICT COURT FILED
FOR THE WESTERN DISTRICT OF TEXAS 2996 APR 27 PM L
AUSTIN DIVISION

  
 

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CROSSROADS SYSTEMS (TEXAS), INC.,
a Texas corporation, BY
Plaintiff and Counter-Defendant,

v. CASE NO. A-03-CV-754 SS

DOT HILL SYSTEMS CORPORATION, a
Delaware corporation,
Defendant and Counter-Plaintiff.

 

 

 

DOT HILL SYSTEMS CORPORATION’S RESPONSE
TO MOTION TO DISQUALIFY TRIAL COUNSEL

I. INTRODUCTION

Dot Hill Systems Corporation (“Dot Hill”) respectfully files this its Response to
Crossroads Systems (Texas), Inc.’s (“Crossroads”) motion to disqualify its trial counsel, Morgan
& Finnegan, L.L.P. (“M&F”) on the grounds that such disqualification is legally unnecessary
under applicable jurisprudence, and a belated attempt to deprive Dot Hill of highly competent
trial counsel. who are steeped in the facts of this complex litigation. Accordingly, Dot Hill
respectfully requests that the motion to disqualify be denied and that Crossroads be precluded
from calling any M&F attorney to testify at trial. As an alternative, the issue of willfulness

should be bifurcated for immediate trial after liability has been established, if necessary.

Hl. FACTUAL BACKGROUND

Crossroads has alleged that Dot Hill willfully infringed U.S. Patents Nos.
5,941,972 and 6,425,035 (the “*972 and ‘035 patents” or the “patents in suit”). Dot Hill has

asserted that it acted in good faith and is not guilty of willful infringement, even assuming that
 

 

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the patents are valid and infringed. Dot Hill bases its good faith in part on five opinions that it
received from the M&F law firm that the patents are neither infringed nor valid.

The M&F law firm has also been acting as trial counsel for Dot Hill since the
filing of this law suit by Crossroads in 2003, and has been heavily involved in the Dot Hill
defense. As a result of M&F’s long involvement in this litigation, M&F has developed a
substantial expertise in the technology and legal issues involved in this complex patent litigation.

Dot Hill has a huge investment in time and resources in its trial counsel, M&F.

il. ARGUMENT

A. Disqualification Of Opinion Counsel Is A Drastic Measure To
Be Avoided Unless Absolutely Necessary

In considering a disqualification motion, the Court of Appeals views the rules in light of
the litigant's rights and the public interest, considering "whether a conflict has (1) the appearance
of impropriety in general, or (2) a possibility that a specific impropriety will occur, and (3) the
likelihood of public suspicion from the impropriety outweighs any social interests which will be
served by the lawyer's continued participation in the case.” Horaist_v. Doctor's Hosp. of
Opelousas, 255 F.3d 261, 266 (Sth Cir. 2001) (quoting In re Dresser Indus., 972 F.2d 540, 544
(Sth Cir. 1992). Here, none of these considerations dictate disqualification. “[A]s a general rule,
courts do not disqualify an attorney on the grounds of conflict of interest unless the former client
moves for disqualification.” United States v. Aleman, 2004 U.S. Dist. LEXIS 24985, at * 7
(W.D. Tex. Aug. 16, 2004).

Application of the disqualification rule requires a balancing of the likelihood of public
suspicion against a party's right to counsel of choice. Cossette v. Country Style Donuts, Inc., 647

F.2d 526, 530 (5th Cir. 1981). However, rather than indiscriminately gutting the right to counsel
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of one's choice, the Court of Appeals has held that disqualification is unjustified without at least
a reasonable possibility that some identifiable impropriety actually occurred. Woods _v.
Covington County Bank, 537 F.2d 804, 813 (Sth Cir. 1976). A disqualification inquiry,
particularly when instigated by an opponent, presents a palpable risk of unfairly denying a party
the counsel of his choosing. Therefore, notwithstanding the fundamental importance of
safeguarding popular confidence in the integrity of the legal system, attorney disqualification,
particularly the disqualification of an entire firm, is a sanction that must not be imposed blindly.
F.D.LC. v. United States Fire Ins. Co., 50 F.3d 1304, 1316 (Sth Cir. 1995) (holding client’s

choice in counsel more significant than asserted reason for disqualification).

B. Crossroads’ Tactic Is Contrary to Controlling Federal Circuit
Law — There is No Necessity For Any Morgan & Finnegan
Attorney to Testify

Crossroads asserts that it “expects” to call at least one M&F lawyer to testify in its
case in chief “The mere announcement by the movant that he intends to call opposing counsel
as a witness is insufficient to demand disqualification.” Jones v. Kovacs, 659 F. Supp. 835, 838
(S.D. Tex. 1987). Crossroads’ tactic does not require disqualification and disqualification is

legally unjustified here.

 

' Crossroads is in no position to seek disqualification on this basis since its trial attorneys are
also potential witnesses. One of Crossroads’ trial counsel, Gray Cary Ware & Freidenrich L.L.P.
(now DLA Piper Rudnick by merger), prosecuted the patents-in-suit and also represented
Infortrend and prepared the indemnity agreement between Infortrend and Dot Hill relating to this
action. Another Crossroads’ trial counsel, the Sprinkle IP Law Group, negotiated several
licensing agreements for the patents-in-suit and prosecuted the re-examination of the patents-in-
suit.
 

 

 

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As a defense to an accusation of willful patent infringement, an accused infringer
may disprove willfulness by demonstrating that it acted upon the advice of counsel. See Norian
Corp. v. Stryker Corp., 363 F.3d 1321, 1332 (Fed. Cir. 2004); Ortho Pharm. Corp. v. Smith, 959
F.2d 936, 944 (Fed. Cir. 1992). To satisfy this requirement, an accused patent infringer must act
with a reasonable reliance upon the opinion of counsel. See Comark Comme’ns, Inc. v. Harris
Corp., 156 F.3d 1182, 1191 (Fed. Cir. 1998) (“[B]efore we may consider the exculpatory value
of an opinion of counsel, the legal advice contained therein must be found on the totality of the

circumstances to be competent such that the client was reasonable in relying upon it.”); SRI Int'l

 

Inc. v. Advanced Tech. Labs., Inc., 127 F.3d 1462, 1465 (Fed. Cir. 1997). Not only must this
advice be competent, it must also be objective. See Vulcan Eng'g Co. v. FATA Aluminium, Inc.,
278 F.3d 1366, 1378 (Fed. Cir. 2002) (“Thus the focus is generally on whether the infringer |
exercised due care to avoid infringement, usually by seeking the advice of competent and
objective counsel”); Pharmacia & Upjohn Co. v. Mylan Pharms., Inc., 182 F.3d 1356, 1360

(Fed. Cir. 1999).

1. Willfulness Hinges On The State Of Mind Of The
Alleged Infringer, Not Of Counsel

Ortho Pharm. Corp. v. Smith, 959 F.2d 936 (Fed. Cir. 1992), is the key Federal
Circuit case discussing the principles governing the scope of the willfulness inquiry. The
infringer’s “intent and reasonable beliefs are the primary focus of the willfulness inquiry.” Ortho
Pharm., 959 F.2d at 944. Because the willfulness inquiry centers on the mind of the alleged
infringer, the focus of the inquiry into the competence of the advice of counsel is on whether the
opinion was sufficient to “instill a belief in the infringer that a court might reasonably hold the

patent is invalid, not infringed, or unenforceable.” Ortho Pharm., 959 F.2d at 944.
 

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A critical factor in evaluating the effect of an opinion of counsel on the
willfulness of patent infringement is the reasonableness of the party’s reliance thereon. See SRI
Int'l, Inc. v. Advanced Tech. Labs., Inc., 127 F.3d 1462, 1465 (Fed. Cir. 1997). The focus of
evaluation should be on the nature of the opinion and the effect it has on the infringer’s action.

See Amsted Indus. v. Buckeye Steel Castings, 24 F.3d 178, 182 (Fed. Cir, 1994),

2. Reasonableness Is Judged Within The Four Corners Of
The Opinions

In evaluating the competence and credibility of an opinion of counsel, the Federal
Circuit has directed the inquiry to focus on objective indicia of reliability that can be discerned
from the four corners of the opinion. See Studiengesellschaft Kohle v. Dart Industries, Inc., 862
F.2d 1564, 1578 (Fed. Cir. 1988) (quoting Underwater Devices, Inc. v. Morrison-Knudsen Co.,
717 F.2d 1380, 1390 (Fed. Cir. 1983)); see also Steelcase Inc. v. Haworth, Inc., 954 F. Supp.
1195, 1200 (W.D. Mich. 1997) (‘the issue is the opinion’s reasonableness within its four corners,
in light of everything else that [the defendant] knew’).

The competence of opinion letters must be reviewed by determining whether they
evidence an adequate foundation based on all necessary facts or whether they are conclusory on
their face. See SRI Int'l Inc. v. Advanced Tech. Labs. Inc., 127 F.3d 1462, 1467 (Fed. Cir.
1997). Relevant factors include: when the infringer sought counsel’s advice; the infringer’s
knowledge of the attorney’s independence, skill and competence; the infringer’s knowledge of
the nature and extent of analysis performed by counsel in providing the opinion; whether the
opinion contains sufficient internal indicia of credibility, including a validity analysis predicated
on a review of the file histories, and an infringement analysis that compares and contrasts the

potentially infringing method or apparatus with the patented inventions; and whether counsel
 

 

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analyzed relevant facts and explained the conclusions in light of the applicable law. See SRI
Labs. Inc., 127 F.3d at 1467; Westvaco Corp v. Int] Paper Co., 991 F.2d 735, 744 (Fed. Cir.
1993). The Federal Circuit has announced that the importance of an opinion of counsel “does
not depend on its legal correctness.” Ortho Pharm., 959 F.2d at 944.

3. Opinion Counsel Is Not A Necessary Witness

Since the opinion letters should be examined only by the four comers of the
document, opinion counsel is not a necessary witness to this litigation and therefore should not

affect the ability of M&F Attorneys to complete their work as trial counsel. See Liz Claiborne

 

Inc. v. Consumer Prod. Recovery, 2004 U.S. Dist. LEXIS 12206, at * 7-9 (N.D. Tex. June 30,
2004) (holding disqualification was not warranted where counsel was not a necessary witness).
Disqualification is not required if the testimony would be merely cumulative. Chapman
Engineers, Inc. v. Natural Gas Sales Co., 766 F. Supp. 949, 958 (D. Kan. 1991).

Proper application of the Federal Circuit precedent indicates that opinion counsel
should not be called to testify since counsel cannot give any competent testimony to establish the
state of mind of the client. The client’s state of mind must be judged by the four corners of the
opinions. Viewed from the proper legal framework, Crossroads’ threat to call M&F attorneys to
testify should be viewed for what it is — a trial tactic designed to deprive Dot Hill of its trial
counsel. The Court should not only deny the motion to disqualify but also preclude Crossroads
from calling any M&F attorney to testify since their testimony is irrelevant to the willfulness
issue.

One of the most recent cases addressing disqualification of opinion counsel is
‘strikingly similar to Crossroads’ tactic. Bristol-Myers Squibb Co. v. Rhone-Poulenc Rorer, Inc.,

55 U.S.P.Q.2d 1662 (S.D.N.Y. 2000). The Court refused to disqualify patent counsel six months
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before trial. Bristol chose to defend RPR’s charge of willful patent infringement with an opinion
letter of counsel, Mr. Baechtold. RPR then moved to disqualify Mr. Baechtold as trial counsel
on the grounds, infer alia, that he would be required to testify as a witness as to the competency
of the opinion.

The court decided that since there was no need to call Mr. Baechtold as a witness,
there was no need to disqualify him as trial counsel:

“(Als this Court has pointed out, the issues are limited to whether

the Baechtold opinion letter is a competent opinion and what

Bristol’s state of mind was when it decided to rely on it. In other

words, was there reasonable reliance by Bristol? Bristol’s

management witnesses are the proper parties to be examined on
that subject, not Mr. Baechtold.” Id. at 1666.

Similarly, M&F attorneys are not the proper witnesses to testify in this case.

Cc. Texas Law Is In Agreement That Disqualification Is Not
Required Where Counsel Is Not a Necessary Witness

The Texas Disciplinary Rule of Professional Conduct 3.08 is explicit in its
requirement that only where the attorney is “necessary to establish an essential fact on behalf of
the lawyer’s client” is disqualification appropriate. As demonstrated above, under controlling
Federal Circuit law, there is no necessity for M&F lawyers to testify. Thus, there is no basis for
disqualification under the disciplinary rules.

The cases cited by Crossroads are not opposite. Every case cited by Crossroads is
a state law adjudication. Motions to disqualify are substantive motions decided under federal
law, not state law. F.D.I.C. v. U.S. Fire Ins. Co., 50 F.3d 1304, 1312 (5th Cir. 1995). Therefore,
they are neither binding, nor persuasive here.

Indeed, none of the cited cases supports disqualification here. In Ayres v. Canales,

790 S.W. 2d 554 (Tex. 1990), the Supreme Court of Texas held that the district court abused its
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discretion in disqualifying counsel and cautioned against depriving the “opposing party of the
right to be represented by the lawyer of his or her choice” merely because of a tactical weapon
by the moving party. Id, at 558. In Anderson Producing Inc. v. Koch Oil Co., 929 S.W.2d 416
(Tex. 1996), the Texas State Court concluded counsel did not violate disciplinary rules. Id. at
422. In Spears v. Fourth Court of Appeals, 797 S.W. 2d 654 (Tex. 1990) the Supreme Court of
Texas affirmed the denial of disqualification stating “[d]isqualification is a severe remedy.” Id.
at 656. In Spain v. Montalvo, 921 S.W.2d 852 (Tex. App. 1996) the attorney was disqualified

because he was the only witness who could testify as to the dispute in question. Id. at 855.

IV. BIFURCATION OF THE “WILLFULNESS” ISSUE IS AN
ALTERNATIVE TO PROTECT THE JURY

While Dot Hill believes that there is no need to call a M&F attorney to testify
under the law as outlined above, Dot Hill respectfully suggests that the Court could postpone the
willfulness issue and try it immediately following the liability phase, if necessary. While the
Court denied bifurcation at an early stage, Dot Hill respectfully submits that it is appropriate now
since all discovery is complete and there would be little, if any, delay with an immediate trial of
the willfulness issue after the liability trial. Indeed, the length of trial may be shortened if no
liability is found. Under Fed. R. Civ. P. 42(b), the Court may bifurcate an action into separate
trials “in furtherance of convenience or to avoid prejudice or when separate trials will be
conducive to expedition and economy.” Bifurcation prevents unfair prejudice from the waiver of
attorney-client privilege when the advice of counsel defense may be asserted as a defense to
willful infringement. Additionally, “[e]vidence of willfulness should be presented in an
environment that insures the jury will not be influenced by it.” Laitram Corp. v. Hewlett-

Packard Co., 791 F. Supp. 113, 116 (E.D. La. 1992).
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The Federal Circuit has stated that trial courts should give “serious consideration”
to a separate trial on willfulness whenever the particular attorney-client communications may be
revealed. Quantum Corp. v. Tandon Corp., 940 F.2d 642, 644 (Fed. Cir. 1990) The Fifth Circuit
Court of Appeals is in agreement that bifurcation is appropriate. Swofford v. B & W, Inc., 336
F.2d 406, 413 (Sth Cir. 1964) (“[W]e think the better practice in all infringement cases...is to
delay such finding (of willful and deliberate infringement) until final judgment, and after an
accounting has been had, since only then can the full nature and extent of the infringement be
disclosed and a fully enlightened determination made as to whether a punitive award is
justified.”) (quoting E-I-M Co. v. Philadelphia Gear Works, Inc., 223 F.2d 36, 42 (5th Cir.

1955)).

V. CONCLUSION

Dot Hill respectfully requests that the motion to disqualify its trial counsel be
denied, or in the alternative that the willfulness issue be bifurcated for a separate trial

immediately following the verdict on liability, if necessary.
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CERTIFICATE OF SERVICE

I hereby certify that a true and complete copy of the above and foregoing document has
been served on this 27" day of April, 2006 to counsel of record as follows:

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